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IN THE UNITED STATES COURT OF FEDERAL CLAIMS

JIM GARCIA,
Plaintiff, No. 1:22-cv-01222-RTH
(Judge Holte)
V.

THE UNITED STATES,

Defendant.

Response to Defendant's request for Enlargement of Time ECF No. 25

1. Defendant's case load and time management issues do not meet the
standards for Good Cause.

2. Defendant is essentially outlining his belief that his other case’s are more
aorta than mine and deserve priority.

3. MJAR ECF No. 23 was submitted 4/24/23 which is 26 days before it was

due and giving the the defendant 54 days to submit a cross-MJAR which is due
by 6/20/23.

4. Defendant is requesting an additional 28 days to prepare a cross-MJAR,
which would then be approximately 84 days to complete his cross-MJAR for a

case where the Defendant has no legitimate argument.
   
  
  
  
 
  
    
   

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5. This is the Defendant's second request for an enlargement of time.
6. For these reasons stated above | respectfully request the Court to deny
Defendant’s request for a 28 day enlargement of time and maintain the original

due date of 6/20/23 for Defendant's cross-MJAR to be submitted.

Respectfully Submitted
Signed/Jim Garcia
Pro Se
June 3, 2023

702-245-8706

 

 
